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                     IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF OKLAHOMA


NANCY L. JOHNSON,                           )
                                            )
                 Plaintiff,                 )
                                            )
v.                                          )   CIV-05-371-R
                                            )
JO ANNE B. BARNHART,                        )
Commissioner of Social Security,            )
           Defendant.                       )


                                       ORDER


       Before the Court is the Report and Recommendation of United States Magistrate

Judge Doyle W. Argo entered January 25, 2006.          No objection to the Report and

Recommendation has been filed nor has an extension of time in which to object been sought

or granted.      Therefore, the Report and Recommendation of the Magistrate Judge is

ADOPTED in its entirety, the final decision of the Commissioner of the Social Security

Administration is REVERSED and this case is REMANDED to the Commissioner for

further administrative proceedings consistent with the Report and Recommendation adopted

by this Order.

       IT IS SO ORDERED this 16th day of February, 2006.
